             Case 1:20-cv-09939-LJL Document 7 Filed 02/01/21 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                        2/1/2021
                                                                       :
SHAEL CRUZ, on behalf of himself and all others                        :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :      20-cv-9939 (LJL)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
MANSCAPED, INC.,                                                       :
                                                                       :
                                    Defendant.                         :
                                                                       X
----------------------------------------------------------------------

LEWIS J. LIMAN, United States District Judge:

        The Court has been informed that the parties have reached a settlement in this case. (Dkt.

No. 12.) Accordingly, it is hereby ORDERED that this action is DISMISSED WITH

PREJUDICE. The parties may reopen the case, provided the application to restore the action to

the Court’s calendar is made within thirty (30) days of this Order. Any application to reopen filed

after thirty (30) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences and deadlines are CANCELLED.

        SO ORDERED.

Dated: February 1, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
